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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   OCALA DIVISION


         MICHAEL MARANDA,
                                                                NOTICE OF MOTION
                                            Plaintiff,
                               -against-                        Case No.: 5:19-CV-
                                                                00528-JSM
         HASH DEPLOY, INC. and
         DOUGLAS SHOOK,

                              Defendants.



        Motion by:               E. Stewart Jones Hacker Murphy LLP, on behalf of
                                 plaintiff, Michael Maranda.


        Supporting Papers:      The affidavit of John F. Harwick, Esq., sworn to the
                                31st day of Msrch 2020 with attached the affidavit
                                of Michael Maranda sworn to on the 18th day of
                                February 2020 and, with Exhibits attached thereto
                                and the pleadings and proceedings had heretofore.

        Relief Requested:       For the Clerk to enter a default judgment pursuant
                                to Fed. R. Civ. P. 58(b)(1) for the sum certain
                                amount of $580,000.00, plus interest from and after
                                May 11, 2019 with costs thereto against Hash
                                Deploy, Inc.

              WHEREFORE, plaintiff, Michael Maranda respectfully requests that
        the Clerk enter a default judgment against Hash Deploy, Inc.
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